
JUSTICE NELSON
specially concurs.
I concur in our opinion. I write separately only to set forth what I believe is further support and grounds for our decision that the District Court manifestly abused its discretion in setting aside the default judgment entered in favor of Roberts.
At the outset it is important to note that the District Court entered the default judgment against Empire following a hearing and the receipt of testimony and evidence. Even acknowledging the obvious— i.e. that Empire was not in court to present countervailing evidence or to rebut Roberts’ evidence — the tenor and detail of the trial court’s findings of fact and conclusions of law and of the court’s comments regarding Empire’s treatment of Roberts and the handling of his claim (covering some 19 pages) are telling.
One cannot get the true flavor of the court’s complete exasperation and frustration at Empire’s conduct without reading the court’s entire *526October 19, 1995 decision. Some examples serve to make the point, however.
Among other things, the court found and concluded on the basis of the evidence, testimony, discovery and record, fully referenced and cited in detail in its opinion, that the liability of Empire’s insured was at all times reasonably clear; that Empire refused to pay Roberts’ claim without conducting a reasonable investigation based upon all available information; that the insurer’s claim that Roberts was contributorily negligent was entirely without basis in fact or in law; that Empire neglected to attempt in good faith to effectuate a prompt, fair and equitable settlement of Roberts’ claim; that Empire’s conduct proximately caused Roberts to suffer prolonged anxiety, worry, frustration and anger; and that Empire intentionally disregarded facts that created a certainty of injury to Roberts and deliberately proceeded to act with total indifference to the fact that such injury would be suffered.
Conclusions of Law numbers 6 and 15, perhaps, best epitomize the court’s outrage. In Conclusion of Law number 6, the court stated:
Montana has provided its citizens a remedy for insurance bad faith because the claims settlement process is filled with potential for abuse. See Holmgren v. State Farm Mutual Automobile Insurance Company, 976 F.2d 573, 578 (9th Cir. 1992). This case is an extreme example of just such abuse. As this Court stated in its ruling following the evidentiary hearing on damages:
I can tell you quite plainly, Counsel, that I have not seen a clearer case of insurer misconduct in the years that I have been on the bench.
There is no question in the Court’s mind that the misconduct was based upon an intent to abuse the citizens of the state of Montana, including this plaintiff, and that it also was the effort of the insurer to completely negate the requirements of the Montana Claims Practices regulations.
They failed to discharge the duties of a legitimate insurer. Their effort, quite plainly in the eyes of the Court, was to rip off an innocent victim so that it could profit by not discharging the obligations that it had under its contract, and it fully and completely failed to investigate and settle this claim as a reasonable insurer ought to.
I think the evidence indicates that the defendant has misconstrued the morality and the ethics and the law that *527govern the activities of insurance companies, and in essence, what it did in this case was to practice extortion, a direct and unequivocal act of extortion.
In a similar vein is the court’s Conclusion of Law number 15:
Empire Fire attempted to use delay and leverage to extort a discount of 25% off the admitted value of Mark Roberts’ claim. By comparison to the total amount of his property damage claim, the 25% discount which Empire Fire tried to extract from Mark Roberts amounted to slightly more than $600.00. This is a comparatively small sum of money when viewed in isolation, but a potentially huge source of profit when applied to the many thousands of claims resolved each year throughout the far-flung operations of this insurer.
Given the references to the record in the court’s findings of fact and conclusions of law, it appears that the court based its findings on substantial supporting evidence and that it did not come to its conclusions of law idly or without justification.
What is truly remarkable, however, is that in granting Empire’s motion to set aside the default judgment for excusable neglect, the court did not in the least discuss its previous findings of fact and conclusions of law or offer any hint that its prior decision might have been open to question because of argument or evidence placed before the court in support of Empire’s Rule 60(b)(1) motion. In fact, with the exception of an indirect reference to neglect, inadvertence and mistake, the court’s February 20, 1996 memorandum and order granting Empire’s motion did not actually address or conclude that Empire had met any of the four elements of its burden to show good cause, as hereinafter discussed.
Rather, the court simply went from concluding in its findings of fact and conclusions of law that Empire was guilty of the most egregious claims handling practices in the court’s experience on the bench — in fact, misconduct amounting to “extortion” — to setting aside that same decision because “each case must be determined upon its own facts.”
The point is that if each case must be determined on its own facts (Clute v. Concrete (1978), 179 Mont. 475, 479, 587 P.2d 392, 395) and if the facts were as the court found them to be in its initial decision— and there is nothing in the court’s subsequent decision calling those findings into question — then default or no default, the court’s judgment against Empire for compensatory and punitive damages was *528fully justified and should not, as a matter of law, have been set aside under any circumstances.
A default judgment may only be set aside “for good cause shown.” In order to establish good cause for purposes of Rule 60(b)(1), M.R.Civ.P, among the various burdens imposed upon a defaulted party, (establishing excusable neglect being simply one of four) is the requirement that the defaulted party also make a prima facie demonstration that it has a meritorious defense to the claim — here Roberts’ bad faith claim. In Re Marriage of McDonald (1993), 261 Mont. 466, 468, 863 P.2d 401, 402 (citing Blume v. Metropolitan Life Ins. Co. (1990), 242 Mont. 465, 467, 791 P.2d 784, 786).
In support of its Rule 60(b)(1) motion, Empire strenuously argued it had various defenses to Roberts’ bad faith claim — i.e. Empire advanced matters with respect to Roberts’ property damage claim that, in Empire’s view, justified the way it handled that claim, thus establishing a reasonable basis pursuant to § 33-18-242(5), MCA, for contesting the claim. The dissent makes reference to these defenses.
In opposition to Empire’s motion, Roberts, with equal intensity argued that on the basis of the record and discovery in his property damage claim, Empire’s defenses were not meritorious. Moreover, Roberts contended that, as a matter of law, Empire could not demonstrate a meritorious defense because, in the underlying case, pursuant to Rule 68, M.R.Civ.P., Empire had made an unconditional offer of judgment for $3,000, an amount in excess of Roberts’ liquidated property damage claim, which offer was accepted by Roberts. As a result, Roberts contends that Empire admitted liability thus precluding any present argument that liability was not clear in the underlying case.
While this argument is not directly raised as an issue on appeal, I do note that in interpreting Rule 68, M.R.Civ.P., we have stated that:
It would be inconsistent to allow a procedure designed to facilitate settlement and avoid litigation costs to be used to challenge liability and, thereby, extend litigation.
Rule 68 specifies that an offer of judgment made after a finding of liability but before determination of damages shall have the same effect as an offer made before trial. That effect, if the offer is accepted, is to render the issue of liability moot.
*529Weston v. Kuntz (1981), 194 Mont. 52, 57-58, 635 P.2d 269, 272-73 (emphasis added). See also, Matter of Certain Justice Court Expenses (1994), 264 Mont. 510, 513, 872 P.2d 795, 797.
My only point in raising this is that in the context of this case, given that liability and damage issues are rendered moot by an accepted offer of judgment; given the vigorous record-based arguments on both sides of this aspect of Empire’s motion; and given the trial court’s scathing findings of fact and conclusions of law, as referred to above, the court’s failure to even address this aspect of Empire’s burden of proof, let alone conclude that it had established, prima facie, a meritorious defense to Roberts’ bad faith action, leaves a void in the court’s decision that cannot be simply ignored.
The District Court, having failed to rule that Empire had met this aspect of its burden to show good cause for setting Roberts’ default judgment aside, we are left to conclude that the court was not satisfied that Empire had made a prima facie showing of a meritorious defense. Again, in the context of the trial court’s findings of fact and conclusions of law and the accepted offer of judgment, that conclusion is more consistent than any assumption to the contrary.
More importantly, the court’s failure to conclude that Empire had shown prima facie a meritorious defense begs the question that, in the face of the court’s findings of fact and conclusions of law, none of which were in any way called into question by the court, how, as a matter of law, could Empire possibly have defended Roberts’bad faith claim? An insurer cannot at once be guilty of “a direct and unequivocal act of extortion” in its settlement of a legitimate claim and at the same time prevail in a defense that its conduct was reasonable under the unfair claim settlement practices provisions of Title 33, Chapter 18 of the Montana Code.
Under such circumstances and the unique facts of this case, if the trial court determined that it was appropriate to set aside Roberts’ default judgment for excusable neglect, then it also had the obligation to conclude that its initial decision was at least questionable and that Empire had met its burden to establish a prima facie meritorious defense to Roberts’ bad faith claim.
In failing to do that, I can come to no other conclusion than that the court was not satisfied that Empire had demonstrated all four of the elements of good cause to set aside Roberts’ default judgment and that, as a consequence, it manifestly abused its discretion in granting Empire’s Rule 60(b)(1) motion.
*530JUSTICES TRIEWEILER and LEAPHART join in the foregoing special concurrence.
